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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 DELTA DIVISION

UNITED STATES OF AMERICA,

VS.                                            CRIMINAL ACTION NO. 4:06CR124-P-B

CHARLES BARRETT MERRILL,
WILBUR TYRONE PEER,
ERWIN DAVID RABHAN,
JIMMY WINEMILLER, AND
WILLIAM MITCHELL WINEMILLER,                                                   DEFENDANTS.


                                 ORDER CONTINUING TRIAL

       These matters come before the court upon Defendant Erwin David Rabhan’s motion to

continue trial [194] and the Government’s motion to continue [195]. After due consideration of the

motions, the court finds as follows, to-wit:

       Trial is currently set for May 18, 2009. Counsel for Defendant Rabhan seeks a continuance

due to two prior trial settings which conflict with the current trial date. The Government seeks a

continuance to afford more time to prepare for trial which will require further meetings with over

50 witnesses and review of over 100,000 documents.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(7)(A), the period of delay from May 18, 2009 until the new trial date to be set in this matter.

The time is excludable under subsection (h)(7)(A) because, given the circumstances described

above, a continuance is necessary to afford the Government more time to adequately prepare for its

case and to accommodate Defendant Rabhan’s counsel’s previously scheduled court proceedings.

As such, the ends of justice served by the granting of this continuance outweigh the best interests

of the public and the defendant in a speedy trial. The time is also excludable as to the co-defendants

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pursuant to 18 U.S.C. section 3161(h)(6) because the period of delay is reasonable and no motion

for severance has been granted.

       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1) Defendant Erwin David Rabhan’s motion to continue trial [194] and the Government’s

motion to continue [195] are GRANTED;

       (2) Trial of this matter is continued as to all defendants until Monday, September 14, 2009

at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from May 18, 2009 to September 14, 2009 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is August 24, 2009; and

       (5) The deadline for submitting a plea agreement is August 31, 2009.

       SO ORDERED this the 12th day of February, A.D, 2009.



                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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